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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  TEXARKANA DIVISION


LINDA FINCH, as Next Friend of
JOHNNY EBERT                                                                    PLAINTIFF


VS.                                     CASE NO. 05-CV-4070


TEXARKANA SCHOOL DISTRICT
NO. 7 OF MILLER COUNTY                                                          DEFENDANT


                                               ORDER

        Before the Court is a Bill of Costs filed on behalf of the Defendant Texarkana School

District No. 7 of Miller County. (Doc. No. 65). As the prevailing party in this action, Defendant

asserts that it is entitled to costs in the amount of $2,353.63. Plaintiff objects to the Bill of Costs.

(Doc. No. 67). The Defendant has responded to Plaintiff’s objections. (Doc. No. 69). The

matter is ripe for consideration.

        The Federal Rules of Civil Procedure state that “[u]nless a federal statute, these rules, or a

court order provides otherwise, costs—other than attorney’s fees—should be allowed to the

prevailing party.” Fed.R.Civ.P. 54(d)(1). This rule presumes an award of costs; however, the

district court has substantial discretion in awarding such costs. Computrol, Inc. v. Newtrend,

L.P., 203 F.3d 1064, 1072 (8th Cir. 2000)(citations omitted). The indigency of the losing party is

a reason the court should consider when determining whether to tax costs, Lampkins v.

Thompson, 337 F.3d 1009, 1017 (8th Cir. 2003), and is a valid reason for not awarding them. Poe

v. John Deere Co., 695 F.2d 1103, 1108 (8th Cir. 1992).

        In her opposition to the Defendant’s Bill of Costs, Plaintiff states that she is indigent and
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does not have the ability to pay any costs in this matter. She states that she and her son are on

SSI disability for mental and physical disabilities. She also states that she is unable to work

because of her disabilities and because she is the full time care giver for her disabled son. Based

upon this information, the Court finds that the Plaintiff is indigent.

       Although costs may be awarded against an indigent person, it is appropriated for the

Court to consider the economic hardship on the party against whom costs are assessed.

Lampkins, 337 F.3d at 1017. In this case, the Plaintiff is unable to work because of her own

disability and the fact that she must stay home and care for her disabled son. The Court believes

that to award Defendant its costs would be an undue economic hardship on the Plaintiff. Thus,

the Court, in the exercise of its discretion, declines to award Defendant its costs in this matter.

Accordingly, Defendant Texarkana School District No. 7 of Miller County’s Bill of Costs is

hereby denied.

       IT IS SO ORDERED, this 28th day of January, 2009.



                                                         /s/Harry F. Barnes
                                                       Hon. Harry F. Barnes
                                                       United States District Judge
